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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
JAMES T NORVELL, CASE NO. C17-5683BHS
Plaintiff,
Vv. VERDICT FORM
BNSF RAILWAY COMPANY,
Defendant.

 

 

 

 

We, the Jury, answer the questions submitted by the Court as follows:

Question 1: Do you find for Plaintiff James Norvell on his claim that Defendant

BNSF Railway Company terminated him in violation of public policy?

x
Yes No
If your answer to Question 1 is “Yes,” answer Question 2. If your answer to

Question 1 is “No,” have the Presiding Juror sign the verdict form and return it to the

clerk,

ORDER - 1

 
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Question 2: What do you find to be the amount of Plaintiff's damages?

a. Past non-economic damages:

 

b. Future non-economic damages:

 

The Presiding Juror should sign this verdict form and advise the Clerk that the
Jury has reached a verdict.

Dated this § Bay of December, 2021.

Presiding Juror —  ¢

ORDER - 2

 
